Contract Incentive Detail - HVAC
Period : September 2023                                                                                                                                 EXHIBIT A
EMPLOYEE INFORMATION

Employee                       : Daniel Novin                                                                                     Job Code                   : J07683

Employee ID                    : 1644837                                                                                          Plan                      : SCPJ - SIP BSNA HVAC Smart Buildings Sales Reps
                                                                                                                                  (SCPJ)
Branch/Dept                    : N42 - 0000                                                                                       Plan Effective Date       : 1/12/2012

Manager                        : Patrick T McGuire                                                                                Manager ID                : 1260393

Pay Suspend                    : No
 INCENTIVE SUMMAR

Contract Number                                      First Period      Cont Type   Status                     Vol          GM     Credit Split %        Estimated Total        Incentive Paid to      Estimated Remaining
                                                                                                                                                        Incentive              Date                   Incentive

0N420331                                             08/01/2020        PSC         Transferred       $308,770.00     $42,984.61          87%                      $3,381.39               $2,574.76                   $806.63
1-117841675179                                       07/01/2023        L&M         Closed             $10,100.00      $4,921.20         100%                        $414.62                 $414.61                     $0.01

1-118929013985                                       06/01/2022        PSA         Active             $47,794.00     $23,986.15          30%                      $3,463.00               $2,597.25                   $865.75

1-122473846783                                       10/01/2022        PSA         Active            $297,371.00     $89,211.30         100%                      $1,784.23               $1,784.23                     $0.00



1-123833630199                                       11/01/2022        L&M         Closed              $4,574.00      $1,539.74         100%                         $87.59                  $87.59                     $0.00
1N420152                                             03/01/2021        PSR         Active             $35,000.00     $13,492.30         100%                      $1,039.78                 $749.35                   $290.43
1N420156                                             03/01/2021        PSR         Transferred       $261,926.00    $125,464.63          20%                      $1,878.89               $1,878.89                     $0.00

1N420172                                             03/01/2021        PSR         Active            $187,261.00     $79,016.82          80%                      $4,786.49               $3,425.82                 $1,360.67

1N420194                                             04/01/2023        PSR         Transferred, Open Change
                                                                                                      $112,895.00
                                                                                                            Order    $41,016.45           7%                      $4,004.84               $3,358.83                   $646.01

1N420391                                             08/01/2021        PSR         Closed            $291,649.00     $49,095.37          62%                      $2,604.92               $2,604.92                     $0.00
2N100184                                             03/01/2022        PSC         Active          $1,651,753.00    $202,403.62           4%                        $556.48                 $451.35                   $105.13

2N420029                                             10/01/2021        PSR         Transferred        $32,950.00     $11,257.23         100%                        $890.02                 $647.71                   $242.31
2N420030                                             10/01/2021        PSR         Transferred        $62,237.00     $17,297.49         100%                      $1,312.75                 $940.42                   $372.33
2N420031                                             10/01/2021        PSR         Transferred        $62,234.00     $14,695.26         100%                      $1,152.70               $1,152.70                     $0.00
2N420032                                             10/01/2021        PSR         Active            $213,200.00     $81,020.86         100%                      $5,835.58               $4,091.61                 $1,743.97

2N420037                                             10/01/2021        PSC         Transferred       $170,359.00     $51,231.83         100%                      $5,172.92               $5,172.92                     $0.00
2N420050                                             11/01/2021        PSC         Closed             $68,600.00     $10,234.93         100%                      $1,403.85               $1,403.85                     $0.00

2N420051                                             11/01/2021        PSR         Closed             $21,781.00     $10,904.50          85%                       $644.09                  $644.09                     $0.00

2N420057                                             11/01/2021        PSC         Transferred       $105,600.00          $0.00         100%                     $-1,154.94              $-1,154.94                     $0.00
2N420060                                             08/01/2022        PSR         Closed             $20,605.00      $3,042.07          7%                          $15.44                  $15.44                     $0.00

2N420071                                             11/01/2021        PSR         Closed             $91,600.00     $32,574.17          89%                      $2,112.36               $2,112.36                     $0.00

2N420170                                             02/01/2022        PSR         Transferred        $19,110.00      $4,928.23         100%                        $379.53                 $379.53                     $0.00
2N420186                                             02/01/2022        PSC         Active            $163,475.00     $47,415.19          85%                      $3,034.45               $2,166.93                   $867.52

2N420187                                             02/01/2022        PSR         Active            $197,450.00     $63,590.06          90%                      $4,230.53               $2,998.63                 $1,231.90
2N420188                                             02/01/2022        PSR         Active              $4,550.00      $1,823.96         100%                        $130.37                  $74.85                    $55.52
2N420215                                             03/01/2022        PSR         Transferred        $55,500.00      $8,759.80         100%                        $760.73                 $572.17                   $188.56



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Contract Incentive Detail - HVAC
Period : September 2023


EMPLOYEE INFORMATION

Employee                       : Daniel Novin                                                                                     Job Code                   : J07683

Employee ID                    : 1644837                                                                                          Plan                      : SCPJ - SIP BSNA HVAC Smart Buildings Sales Reps
                                                                                                                                  (SCPJ)
Branch/Dept                    : N42 - 0000                                                                                       Plan Effective Date       : 1/12/2012

Manager                        : Patrick T McGuire                                                                                Manager ID                : 1260393

Pay Suspend                    : No
 INCENTIVE SUMMARY

Contract Number                                      First Period      Cont Type   Status                     Vol          GM     Credit Split %        Estimated Total        Incentive Paid to      Estimated Remaining
                                                                                                                                                        Incentive              Date                   Incentive

2N420217                                             03/01/2022        PSR         Active             $10,150.00      $3,279.64         100%                       $242.30                  $171.70                    $70.60
2N420218                                             03/01/2022        PSR         Closed             $36,950.00     $14,036.00          85%                       $859.36                  $859.36                     $0.00
2N420230                                             03/01/2022        PSR         Transferred       $155,276.00     $46,781.96          15%                       $524.73                  $524.73                     $0.00

2N420248                                             04/01/2022        PSR         Transferred       $290,480.00    $101,811.92          85%                      $6,309.85               $4,447.07                 $1,862.78
2N420250                                             04/01/2022        PSR         Closed             $48,204.00     $20,511.59         100%                      $1,454.28               $1,454.28                     $0.00
2N420276                                             06/01/2022        PSR         Transferred        $30,300.00     $12,765.29         100%                      $1,028.94               $1,028.94                     $0.00
2N420277                                             05/01/2022        PSR         Transferred        $19,350.00      $9,036.91          85%                        $538.19                 $538.19                     $0.00

2N420282                                             05/01/2022        PSR         Closed             $26,200.00     $11,010.13         100%                        $781.92                 $781.92                     $0.00
2N420294                                             06/01/2022        PSR         Transferred        $53,900.00     $22,813.66         100%                      $1,835.11               $1,475.80                   $359.31
2N420303                                             07/01/2022        PSR         Active            $115,698.00     $40,100.43         100%                      $2,267.31               $1,635.73                   $631.58

2N420304                                             06/01/2022        PSR         Transferred        $56,350.00     $22,689.08         100%                      $1,866.26               $1,866.26                     $0.00
2N420308                                             06/01/2022        PSC         Closed             $68,110.00     $10,274.42         100%                        $734.79                 $734.79                     $0.00

2N420333                                             07/01/2022        PSC         Transferred         $7,750.00      $2,579.95          85%                        $197.50                 $162.95                    $34.55
2N420337                                             07/01/2022        PSC         Transferred        $12,700.00      $5,698.64         100%                        $446.94                 $446.94                     $0.00
2N420343                                             08/01/2022        PSR         Active             $94,450.00     $36,915.32          85%                      $2,616.25               $2,122.05                   $494.20

2N420370                                             08/01/2022        PSC         Active             $64,150.00     $10,541.92          85%                      $1,221.14                 $992.63                   $228.51
2N420387                                             09/01/2022        PSC         Transferred         $6,100.00      $1,875.05         100%                        $175.88                 $175.88                     $0.00
2N910076                                             07/01/2022        PSR         Transferred       $121,434.00     $38,164.16          19%                        $422.55                 $422.55                     $0.00

2N910095                                             09/01/2022        PSC         Active            $180,393.97     $49,839.37          20%                       $584.27                  $429.55                   $154.72

3N420005                                             09/01/2022        PSC         Transferred, Open Change
                                                                                                        $8,025.00
                                                                                                            Order     $3,280.29          87%                        $233.68                 $188.63                    $45.05
3N420006                                             09/01/2022        PSR         Transferred         $99,750.00    $46,421.37          85%                      $3,047.43               $2,425.96                   $621.47
3N420021                                             11/01/2022        PSC         Transferred         $10,515.00        $59.73         100%                         $44.75                  $43.81                     $0.94
3N420022                                             10/01/2022        PSR         Active             $296,543.00    $75,938.69         100%                      $4,603.41               $3,407.38                 $1,196.03

3N420027                                             10/01/2022        PSC         Active            $104,350.00     $36,137.01         100%                      $3,191.42               $2,622.26                   $569.16
3N420028                                             11/01/2022        PSR         Active             $95,500.00     $34,008.44         100%                      $2,962.88               $2,427.25                   $535.63
3N420029                                             12/01/2022        PSC         Active              $5,450.00      $1,023.69         100%                         $67.87                  $51.74                    $16.13
3N420034                                             11/01/2022        PSC         Transferred         $3,450.00      $1,119.98         100%                         $64.20                  $64.20                     $0.00
3N420035                                             04/01/2023        PSC         Active             $24,861.10      $4,042.53         100%                        $308.70                 $245.03                    $63.67

3N420036                                             11/01/2022        PSC         Active             $47,866.00      $7,229.50         100%                       $516.79                  $402.92                   $113.87




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Contract Incentive Detail - HVAC
Period : September 2023


EMPLOYEE INFORMATION

Employee                       : Daniel Novin                                                                                  Job Code                   : J07683

Employee ID                    : 1644837                                                                                       Plan                      : SCPJ - SIP BSNA HVAC Smart Buildings Sales Reps
                                                                                                                               (SCPJ)
Branch/Dept                    : N42 - 0000                                                                                    Plan Effective Date       : 1/12/2012

Manager                        : Patrick T McGuire                                                                             Manager ID                : 1260393

Pay Suspend                    : No
 INCENTIVE SUMMAR

Contract Number                                      First Period      Cont Type   Status                  Vol          GM     Credit Split %        Estimated Total        Incentive Paid to      Estimated Remaining
                                                                                                                                                     Incentive              Date                   Incentive

3N420038                                             11/01/2022        PSR         Transferred    $16,250.00       $9,011.09         100%                       $649.25                  $649.25                     $0.00

3N420039                                             11/01/2022        PSC         Active        $210,000.00      $73,777.14         100%                      $6,469.97               $5,307.98                 $1,161.99

3N420056                                             11/01/2022        Prime       Transferred    $33,350.00      $14,964.77         100%                      $1,173.66               $1,173.66                     $0.00
3N420057                                             11/01/2022        Prime       Transferred     $4,720.00       $1,926.55         100%                        $157.49                 $157.49                     $0.00
3N420058                                             12/01/2022        PSC         Transferred     $1,840.00       $1,194.68         100%                         $81.36                  $81.36                     $0.00

3N420072                                             12/01/2022        PSR         Active        $130,650.00      $49,080.93         100%                      $4,168.39               $3,395.37                   $773.02
3N420077                                             01/01/2023        PSR         Active         $32,850.00       $7,823.47         100%                        $844.81                 $721.59                   $123.22

3N420099                                             02/01/2023        PSC         Transferred     $9,850.00       $3,481.68         100%                        $345.04                 $345.04                     $0.00
3N420100                                             02/01/2023        PSC         Active         $12,350.00       $4,464.96         100%                        $437.10                 $366.78                    $70.32
3N420101                                             02/01/2023        PSC         Active        $187,500.00      $73,455.92          90%                      $6,202.33               $4,762.14                 $1,440.19

3N420102                                             01/01/2023        PSR         Transferred    $15,750.00       $5,713.71         100%                       $493.37                  $493.37                     $0.00

3N420103                                             02/01/2023        PSR         Active         $36,188.51      $14,525.40          95%                      $1,278.45               $1,061.11                   $217.34
3N420104                                             02/01/2023        PSC         Active         $51,030.00      $20,236.05          87%                      $1,640.95               $1,317.16                   $323.79
3N420110                                             01/01/2023        Prime       Active         $95,208.22      $17,787.44          15%                        $221.48                 $168.95                    $52.53
3N420117                                             01/01/2023        PSC         Active         $15,250.00       $5,489.26         100%                        $475.77                 $389.31                    $86.46

3N420118                                             01/01/2023        PSR         Active         $26,652.00       $7,334.81         100%                       $436.68                  $321.15                   $115.53
3N420123                                             01/01/2023        Prime       Active        $438,932.00     $105,684.56          5%                        $406.97                  $232.61                   $174.36

3N420131                                             02/01/2023        PSR         Transferred     $6,250.00       $1,682.28         100%                        $195.25                 $195.25                     $0.00
3N420132                                             02/01/2023        PSR         Active         $49,550.00      $24,700.41         100%                      $2,059.18               $1,670.15                   $389.03
3N420141                                             02/01/2023        PSR         Active          $3,450.00       $1,495.84         100%                        $133.28                 $109.71                    $23.57
3N420145                                             02/01/2023        PSR         Active         $62,575.00      $18,370.16          85%                      $1,719.88               $1,473.96                   $245.92

3N420166                                             04/01/2023        PSC         Active          $3,450.00       $1,409.60         100%                       $129.39                  $107.19                    $22.20
3N420167                                             03/01/2023        Prime       Active        $360,360.00     $144,864.79          5%                        $774.99                  $632.39                   $142.60

3N420175                                             03/01/2023        PSC         Active        $252,352.00      $36,423.17          50%                      $1,463.02                 $889.36                   $573.66
3N420176                                             03/01/2023        PSC         Active         $30,491.20       $6,632.24         100%                        $453.96                 $349.50                   $104.46

3N420178                                             04/01/2023        PSC         Transferred     $5,450.00       $1,992.57         100%                        $193.92                 $193.92                     $0.00
3N420197                                             04/01/2023        PSC         Active         $85,650.00      $31,262.62          75%                      $2,283.65               $1,914.36                   $369.29
3N420202                                             04/01/2023        PSR         Active         $11,700.00       $2,954.59         100%                        $192.63                 $146.09                    $46.54



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Contract Incentive Detail - HVAC
Period : September 2023


EMPLOYEE INFORMATION

Employee                       : Daniel Novin                                                                                  Job Code                   : J07683

Employee ID                    : 1644837                                                                                       Plan                      : SCPJ - SIP BSNA HVAC Smart Buildings Sales Reps
                                                                                                                               (SCPJ)
Branch/Dept                    : N42 - 0000                                                                                    Plan Effective Date       : 1/12/2012

Manager                        : Patrick T McGuire                                                                             Manager ID                : 1260393

Pay Suspend                    : No
 INCENTIVE SUMMA

Contract Number                                      First Period      Cont Type   Status                  Vol          GM     Credit Split %        Estimated Total        Incentive Paid to      Estimated Remaining
                                                                                                                                                     Incentive              Date                   Incentive

3N420216                                             04/01/2023        PSC         Active          $5,200.00       $1,540.84         100%                        $168.79                 $120.25                    $48.54
3N420218                                             04/01/2023        PSC         Active          $9,250.00       $2,770.71         100%                        $301.57                 $257.93                    $43.64
3N420225                                             05/01/2023        Prime       Active        $977,125.00     $290,976.42          30%                      $6,778.98               $4,640.57                 $2,138.41

3N420232                                             05/01/2023        Prime       Active         $69,850.00      $19,898.19         100%                      $1,251.65                 $938.25                   $313.40

3N420251                                             06/01/2023        PSC         Active        $182,485.00      $61,885.64          85%                      $5,333.64               $3,676.65                 $1,656.99

3N420252                                             06/01/2023        PSC         Active        $241,250.00      $82,260.20          85%                      $7,068.28               $4,865.77                 $2,202.51
3N420285                                             06/01/2023        PSR         Active          $3,650.00       $1,447.55         100%                        $134.93                  $89.33                    $45.60
3N420286                                             06/01/2023        PSC         Active          $1,570.00         $239.36         100%                         $18.78                  $11.24                     $7.54
3N420289                                             06/01/2023        Prime       Active         $34,100.00      $13,781.36         100%                      $1,272.32                 $838.21                   $434.11

3N420290                                             06/01/2023        Prime       Active          $6,500.00       $2,422.82         100%                       $233.34                  $157.02                    $76.32
3N420292                                             08/01/2023        PSR         Active         $14,830.00       $5,309.29         100%                       $522.53                  $355.29                   $167.24

3N420293                                             06/01/2023        PSC         Active        $489,687.00     $189,074.17         100%                    $17,873.59               $11,917.75                 $5,955.84
3N420302                                             07/01/2023        PSC         Active          $1,300.00         $468.00         100%                        $45.92                   $31.18                    $14.74

3N420305                                             08/01/2023        PSC         Active         $48,520.00      $14,342.25         100%                      $1,573.34               $1,121.56                   $451.78

3N420332                                             08/01/2023        PSC         Active           $7,800.00      $2,795.00         100%                       $274.95                  $186.91                    $88.04

3N420333                                             08/01/2023        PSR         Active         $12,500.00       $4,085.51         100%                        $247.60                 $118.90                   $128.70
3N420334                                             08/01/2023        PSR         Active         $92,320.00      $35,572.88         100%                      $3,366.39               $2,245.84                 $1,120.55

3N420337                                             08/01/2023        PSR         Active         $28,290.00       $5,494.00         100%                       $391.51                  $218.45                   $173.06
3N420345                                             08/01/2023        Prime       Active        $131,978.00      $48,334.48          5%                        $270.54                  $185.30                    $85.24

3N420346                                             08/01/2023        PSC         Active        $225,000.00      $35,848.21         100%                      $2,760.67               $1,631.45                 $1,129.22

3N550093                                             06/01/2023        PSC         Active        $134,500.00      $40,723.52          30%                      $1,321.44                 $936.61                   $384.83
3N910007                                             10/01/2022        PSR         Transferred    $30,056.07      $12,171.79          20%                        $199.70                 $199.70                     $0.00

3N910075                                             09/30/2023        PSR         Active         $19,430.00       $7,772.00          20%                        $144.27                  $95.31                    $48.96
4N420003                                             09/30/2023        PSC         Active        $177,773.30      $51,553.39         100%                      $5,719.80               $4,095.87                 $1,623.93


Total                                                                                                                                                        $181,428.03             $140,857.91                $40,570.15




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